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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


 ANITA ROBERTSON                                                CIVIL ACTION
 VERSUS                                                         NO. 23-1380
 STATE FARM FIRE & CASUALTY                                     SECTION "E" (2)
 COMPANY


                      PRELIMINARY CONFERENCE NOTICE

       A PRELIMINARY CONFERENCE will be held BY TELEPHONE on
THURSDAY, NOVEMBER 16, 2023 AT 11:00 A.M. for the purpose of scheduling a
pre-trial conference and trial on the merits and for a discussion of the status and discovery
cut-off dates. The Court's case manager will initiate the conference call.

       TRIAL COUNSEL are to participate in this conference. If, however, you are
unable for good cause to do so, another attorney in your firm may participate if acquainted
with all details of the case and authorized to enter into any necessary agreements. If, for
good cause, neither is possible, you must file a Motion and Order to Continue at least one
week prior to the above date.


                                            BRAD NEWELL
                                            CASE MANAGER
                                            SECTION "E"
                                            504-589-7714


      NOTICE OF COMPLIANCE WITH Fed.R.Civ.P. 26(a)(1) AND 26(f)
COUNSEL ARE TO COMPLY WITH THE DISCLOSURE REQUIREMENTS OF
RULE 26(a)(1) and 26(f) and LOCAL RULE 26, AND THE CORPORATE
DISCLOSURE REQUIREMENTS OF F.R.C.P. 7.1. COUNSEL ARE TO BE
PREPARED TO ANSWER THE ATTACHED QUESTIONS CONCERNING
DISCLOSURE.

                                         NOTICE

COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF
THIS NOTICE SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS
REQUIRED BY THIS NOTICE.
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                     IMPORTANT NOTICE TO COUNSEL

COUNSEL MUST PARTICIPATE IN THIS CONFERENCE. A PARALEGAL OR
            SECRETARY MAY NOT BE SUBSTITUTED.

COUNSEL WILL BE REQUIRED TO ANSWER THE FOLLOWING QUESTIONS
REGARDING DISCLOSURE AT THE CONFERENCE:

1.   Have all parties completed your Rule 26(a)(1) mandatory initial disclosures?
2.   Do any of the parties contend that Rule 26(a)(1) initial disclosures are not
     required in this case under Rule 26(a)(1)(B)? If so, written objections must be
     filed three days prior to the preliminary conference.
3.   Have the corporate parties filed their corporate disclosure statements? In
     advance of the conference, every party should be familiar with and ensure
     compliance with F.R.C.P. 7.1, which was amended December 21, 2022.
